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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,


                     -against-                                         24-CR-542 (AS)

 SEAN COMBS,                                                                ORDER
                                 Defendant.



ARUN SUBRAMANIAN, United States District Judge:
        In connection with the sentencing proceeding in this case, the Court would find it helpful
to have available data on sentences imposed where (1) the primary or sole conviction was for a
violation of 18 U.S.C. § 2421(a); or (2) the base offense level under the Sentencing Guidelines
was calculated under § 2G1.1(a)(2) and a Criminal History Category of I.
       The parties should locate cases that they believe match these criteria and file a letter—
hopefully a joint letter—identifying those cases, by docket number and jurisdiction, on or before
September 1, 2025. No argument should be included in this letter.
        The goal is for the parties’ subsequent sentencing submissions to address the cases
identified in the September 1 filing, focusing on those that each side believes reflect sentences
imposed for similarly situated defendants, if any.
        The Court appreciates the parties’ assistance in identifying these cases, as this information
is not presently available from the Sentencing Commission.
       SO ORDERED.

Dated: July 9, 2025
       New York, New York



                                                                 ARUN SUBRAMANIAN
                                                                 United States District Judge
